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                  United States Court of Appeals
                               For the First Circuit

      No. 22–1782

        TRINA WILKINS; JAMES BISHOP; LISA BISHOP; AMBER BRITTON; TONI
       CORDOVA; JOHN CORTINA; JILL CORTINA; GEORGE DEMKO; DOVAN HELTON;
        MARY HELTON; NATE BROOKS; SYDNEY JOHNSON; D.J.; DAMON LAFORCE;
        ERIN MASULA; MICHAEL MASULA; JAMES MATTHEWS; THOMAS OLSZEWSKI;
         DARLENE COOKINGHAM; THOMAS STANZIANO; WENDY STANZIANO; EDDIE
           VIERS, individually as surviving spouse of Teresa Viers,
          deceased, and as personal representative of the Estate of
         Teresa Viers; WILLIAM MCNEW; JAMES WALLACE; JEANNE WALLACE,
        individually as surviving spouse of Joseph Wallace, deceased,
       and as personal representative of the Estate of Joseph Wallace;
                                SAMUEL WALLACE,

                              Plaintiffs, Appellants,

                                           v.

                                GENZYME CORPORATION,

                                Defendant, Appellee.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                 [Hon. Douglas P. Woodlock, U.S. District Judge]


                                        Before

                          Kayatta, Lynch, and Montecalvo,
                                  Circuit Judges.


           Jonathan M. Gesk and C. Allen Black, Jr., with whom Law Office
      of C. Allen Black, Jr. and Gesk Moritz, LLC were on brief, for
      appellants.
           Robert G. Jones, with whom Renee T. Whyte, Ezra D. Geggle,
      and Ropes & Gray LLP were on brief, for appellees.
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                                  February 15, 2024
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                  KAYATTA, Circuit Judge.     Filed in February of 2020, this

      lawsuit seeks monetary recovery on behalf of more than two dozen

      individuals for injuries allegedly caused by drug manufacturer

      Genzyme Corporation's ("Genzyme") mishandling of a prescription

      drug shortage between 2009 and 2012.         Given that eight to eleven

      years have passed between the events giving rise to this lawsuit

      and its commencement, the applicable statutory limitations periods

      would normally have rendered plaintiffs' claims fatally stale.

      Plaintiffs argue, however, that two prior putative class actions,

      a so-called savings statute, and a tolling agreement between the

      parties all align to bridge any gap that would otherwise have

      prevented this lawsuit from proceeding.

                  The district court agreed, at least in part, and rejected

      Genzyme's contention that the delay in filing this lawsuit required

      its dismissal under Rule 12(b)(6) of the Federal Rules of Civil

      Procedure.     See Wilkins v. Genzyme Corp., No. 21–10023, 2022 WL

      4237528, at *18 (D. Mass. Sept. 14, 2022).          At the same time, the

      district court dismissed without prejudice the claims of all but

      four plaintiffs for lack of standing,             and it dismissed        with

      prejudice all remaining claims of those four plaintiffs on the

      merits.    Id. at *19–31.   All plaintiffs then timely appealed.           For

      the reasons that follow, we vacate the district court's judgment

      in part and remand for further proceedings consistent with this

      opinion.


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                                                      I.

                      Given the number of parties, claims, and issues in this

      lawsuit, a roadmap of our decision may prove helpful.                           The opinion

      commences        with       two    threshold       questions    of   justiciability       --

      Article III standing and subject matter jurisdiction.                           We conclude

      that      all    plaintiffs         have     standing    and    that     this    court   has

      jurisdiction to proceed with this case, at least with respect to

      plaintiffs' individual claims.

                      We     then   turn     to    the     district    court's    rejection    of

      Genzyme's statute-of-limitations defense.                       Because Genzyme has not

      appealed that rejection, we can consider Genzyme's reliance on

      that defense on this appeal only to the extent it might serve as

      an alternative basis to affirm the judgment with respect to four

      plaintiffs whose claims were dismissed with prejudice.                               After

      unspooling plaintiffs' tolling-related arguments, we conclude that

      all four plaintiffs waited far too long before filing this lawsuit.

      In so concluding, we make a series of subsidiary findings that

      will guide the district court's treatment of the claims advanced

      by the remaining twenty-two plaintiffs.

                      As     to   the     claims    advanced     by    those    plaintiffs,     we

      conclude        that    the       district    court     incorrectly      dismissed   those

      plaintiffs' claims for lack of standing.                          For that reason, we

      vacate the judgment dismissing those claims and remand the case to

      the district court.                  The district court can then decide, in


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      whatever order it thinks prudent: (1) whether the claims withstand

      Genzyme's limitations defense as explicated in this opinion, and

      (2) whether the claims survive Genzyme's challenge to their merits

      under Rule 12(b)(6).

                   With this roadmap in hand, we start with the facts.

                                           II.

                   We previously detailed the allegations that underpin

      this litigation in Hochendoner v. Genzyme Corp., 823 F.3d 724 (1st

      Cir. 2016) ("Hochendoner II"), so we provide only an abbreviated

      version here.      Because of the preliminary procedural posture of

      this case, we summarize the facts as alleged by plaintiffs, rather

      than as they might otherwise be shown to be.             See Germanowski v.

      Harris, 854 F.3d 68, 69 (1st Cir. 2017) ("Because this appeal

      follows a dismissal pursuant to Rule 12(b)(6) of the Federal Rules

      of Civil Procedure, we accept as true all well-pleaded facts in

      [the]      complaint    and   draw    all    reasonable      inferences      in

      [plaintiffs'] favor.").

                   Genzyme makes what was at relevant times the only drug

      approved in the United States for treating                Fabry disease,      a

      progressive affliction that leads to destructive inflammation,

      organ failure, and premature death.          Hochendoner II, 823 F.3d at

      728.      Genzyme's drug, called Fabrazyme, slows the progression of

      Fabry disease when administered at the proper dosage every two




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      weeks.      Id.    During the relevant time period, Fabrazyme was the

      only FDA-approved treatment for Fabry disease in the United States.

                      From 2003 until 2009, Genzyme steadily provided the

      FDA-approved dosage of Fabrazyme to U.S. patients.                    Id.    Then, in

      June 2009, upon discovering viral contamination in one of its

      facility's        bioreactors,    Genzyme       suspended   bulk    production       of

      Fabrazyme, leading to shortages. Id. at 728–29. Genzyme initiated

      a rationing plan, providing U.S. patients with reduced doses in

      order      to    prolong    the   drug's    available       supply.         Id.      In

      November 2009, Genzyme discovered particulate contamination in

      another batch of Fabrazyme, exacerbating the shortage.                         Id. at

      728.      In 2011, Genzyme worsened the shortage in the United States

      by   diverting       some   Fabrazyme      to    the   European    market.          Id.

      Plaintiffs aver that Genzyme did so to ward off competition from

      an alternative Fabry disease treatment approved only in Europe,

      while Genzyme's monopoly over the domestic market enabled the

      company to continue peddling reduced doses to U.S. Fabry patients

      without fear of losing market share.

                      It was not until after March 2012 that Genzyme succeeded

      in restoring full supplies of Fabrazyme to U.S. patients.                         In the

      meantime, U.S. patients had received reduced doses or, for a period

      in August 2011, no doses at all.                  Id. at 728–29.            Plaintiffs

      variously allege that they experienced injuries as a result,

      including worsening symptoms and acceleration of the disease's


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      progression, sensitization to the drug upon returning to a full

      dose, shortened life expectancies, and/or financial harm.                           They

      allege    that   Genzyme   knew    that   low-dose     Fabrazyme           would    not

      effectively treat Fabry disease and yet continued to sell the

      reduced doses to patients. They also allege that Genzyme knowingly

      misrepresented both the effectiveness of its low-dose regimen and

      the expected duration of the shortage.

                  The Fabrazyme shortage provoked several lawsuits against

      Genzyme that form the predicate for this case.                    In March 2011, a

      group of plaintiffs, on behalf of a putative class of all U.S.

      Fabry patients, brought suit in the U.S. District Court for the

      Western District of Pennsylvania, which transferred the case to

      the District of Massachusetts ("the Hochendoner lawsuit").                           In

      June 2013, another group of plaintiffs, on behalf of a similar

      putative    class,   brought      suit    directly     in        the     District    of

      Massachusetts ("the Adamo lawsuit").            Both lawsuits alleged an

      array of common law and statutory claims against Genzyme.                           The

      district court consolidated the two lawsuits before dismissing

      both on the pleadings in March 2015.           See Hochendoner v. Genzyme

      Corp., 95 F. Supp. 3d 15, 21, 35 (D. Mass. 2015).

                  On appeal, we concluded that the complaint failed to

      sufficiently     allege    a   cognizable     injury        to     any     individual

      plaintiff to establish Article III standing, save for what the

      parties called a "sensitization" theory of injury as alleged by


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      one of the Adamo plaintiffs named James Mooney (and his wife, Laura

      Kurtz-Mooney).        Hochendoner II, 823 F.3d at 734–35.              As to all

      plaintiffs but the Mooneys, "[u]tterly absent . . . [was] any

      allegation linking the . . . injuries to any specific plaintiff."

      Id. at 732.        We therefore remanded the case so that the district

      court could adjudicate the Mooneys' sensitization-based claims,

      while dismissing without prejudice due to a lack of standing all

      other claims presented for review on that appeal.                Id. at 735–37.

                   Thereafter,     the    parties      engaged        in     settlement

      discussions.       As part of that effort, the plaintiffs and Genzyme

      agreed, effective May 17, 2017, to toll "[a]ny applicable statutes

      of limitations pertaining to any matters asserted" during the

      Hochendoner and Adamo lawsuits ("Tolling Agreement").                   While it

      seems that Genzyme ultimately reached agreement with some of the

      Hochendoner and Adamo plaintiffs -- including the Mooneys -- others

      remained unable to settle their claims.               As a result, Genzyme

      terminated the Tolling Agreement effective February 29, 2020, the

      same day on which those plaintiffs filed the current lawsuit.

                   The    twenty-six   plaintiffs,    almost    all    of    whom   were

      plaintiffs in the Hochendoner/Adamo lawsuits, filed the present

      action in the U.S. District Court for the Southern District of

      Indiana. 1    The case was transferred          back to the District of


            1 The only new plaintiffs are relatives of the Adamo
      plaintiffs: William McNew (surviving son of Teresa Viers), James


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      Massachusetts.         The new complaint asserts twenty-four counts of

      common law and statutory claims on behalf of the named plaintiffs

      and "all others similarly situated."                     Plaintiffs allege federal

      subject matter jurisdiction under the Class Action Fairness Act

      ("CAFA"), 28 U.S.C. § 1332(d), and supplemental jurisdiction over

      related claims under 28 U.S.C. § 1367.                     As we will discuss, this

      time each plaintiff has alleged the specific injuries that they

      claim to have suffered.

                  In    response       to    the      new    complaint,       Genzyme       raised

      threshold challenges to the court's subject matter jurisdiction

      and plaintiffs' standing.                   As to the court's subject matter

      jurisdiction, Genzyme contended that all of the claims upon which

      class certification was sought were untimely and that, once those

      claims were dismissed, the court could no longer maintain subject

      matter jurisdiction under CAFA.                 The district court rejected this

      argument because it found that many of the plaintiffs' claims were

      timely refiled.        Wilkins, 2022 WL 4237528, at *18.

                  As    to    standing,          however,     Genzyme's       arguments      fared

      better.    The district court held that only four of the twenty-six

      plaintiffs       --    those       bringing          claims     based    on     the     same

      "sensitization"         theory        of     injury      that     we     recognized       in

      Hochendoner II        --   could      establish       Article III       standing.        See


      and Samuel Wallace (surviving sons of Joseph Wallace), and Nate
      Brooks (spouse of Mary Helton).


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       Wilkins, 2022 WL 4237528, at *18–21. It rejected plaintiffs' other

       proffered theories of standing and dismissed all claims of the

       other twenty-two plaintiffs on those grounds. Id. Then, the court

       dismissed the four plaintiffs' outstanding sensitization-based

       claims on the merits under Rule 12(b)(6) for failure to state a

       claim upon which relief could be granted.         Id. at *31.

                  Plaintiffs now appeal the district court's dismissal of

       their claims for lack of standing and for failure to state a claim.

                                          III.

                  In considering plaintiffs' appeal, we first turn to two

       threshold questions of justiciability -- Article III standing and

       subject matter jurisdiction.

                                           A.

                  Plaintiffs seeking to invoke federal jurisdiction must

       first establish that they have constitutional standing to sue in

       federal court.     See Dantzler, Inc. v. Empresas Berríos Inventory

       & Operations, Inc., 958 F.3d 38, 46 (1st Cir. 2020).             Because the

       existence of standing for pleading purposes is a legal question,

       we review it de novo on appeal.           See In re Evenflo Co., Mktg.,

       Sales Pracs. & Prods. Liab. Litig., 54 F.4th 28, 34 (1st Cir.

       2022).   "To satisfy th[e] standing requirement, a plaintiff must

       sufficiently plead three elements: injury in fact, traceability,

       and redressability."     Id. (alteration in original) (quoting Kerin

       v. Titeflex Corp., 770 F.3d 978, 981 (1st Cir. 2014)).               When, as


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       here, no class has been certified below, "our review is limited to

       whether [the named plaintiffs have] standing."               Id. (alteration in

       original) (quoting Kerin, 770 F.3d at 981).               Further, "standing is

       not dispensed in gross."          Town of Chester v. Laroe Ests., Inc.,

       581 U.S. 433, 439 (2017) (quoting Davis v. Fed. Election Comm'n,

       554 U.S. 724, 734 (2008)).         Instead, "a plaintiff must demonstrate

       standing for each claim he seeks to press and for each form of

       relief that is sought."          Id. (quoting Davis, 554 U.S. at 734).

                  We previously addressed similar questions of standing in

       Hochendoner II.       We found that standing in that case "hinge[d] on

       the presence or absence of a plausibly pleaded injury in fact."

       823 F.3d at 731.         While plaintiffs had alleged three possible

       theories of harm -- acceleration, contamination, and sensitization

       -- we found that the complaint only alleged that one of the

       identified plaintiffs, James Mooney, had suffered one of those

       harms, sensitization.       Id. at 734–35.       Key to our holding was the

       complaint's    failure      to     provide     "specific     information . . .

       regarding the harm, if any, that ha[d] befallen each individual

       plaintiff" (with one exception). Id. at 732. We therefore ordered

       that the complaint be dismissed without prejudice, except as to

       Mooney and his spouse.            Id. at 737.       Following remand, after

       plaintiffs    filed    an   amended    complaint     in    Adamo,   the   parties

       ultimately settled the Mooneys' outstanding claims.




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                  On this appeal from the dismissal of plaintiffs' most

       recent lawsuit, Genzyme contends that plaintiffs have made the

       same mistake in failing to specify which alleged defect caused

       which individual plaintiff to suffer which, if any, specific harm.

       We disagree. The complaint that commenced this new lawsuit, unlike

       the prior complaints in the Hochendoner and Adamo lawsuits, makes

       specific allegations about the particular injuries suffered by

       each individual plaintiff.

                  In support of their "acceleration" theory of injury,

       plaintiffs allege that the low and/or contaminated Fabrazyme doses

       caused their Fabry disease symptoms to worsen more quickly than

       they would have had plaintiffs received full doses.2                 Plaintiffs

       allege that "[a]s a result of being subjected to multiple defects,

       all of which cause and/or increase inflammation, all surviving

       [p]laintiffs now have a worse clinical outcome than if they had

       been given no drug at all because of the merger of the inflammatory

       disease process created by the triply-inflammatory adulterated

       Fabrazyme cocktail."     (Emphasis added.)


            2  Plaintiffs also allege that the defective Fabrazyme doses
       shortened their life expectancies. On appeal, plaintiffs devote
       one conclusory sentence to this claim and offer no explanation as
       to how their "reduced-life-expectancy" theory of injury differs
       meaningfully from their acceleration theory for purposes of
       Article III standing.    We therefore find that plaintiffs have
       waived the issue on appeal.    See United States v. Zannino, 895
       F.2d 1, 17 (1st Cir. 1990) ("[I]ssues adverted to in a perfunctory
       manner, unaccompanied by some effort at developed argumentation,
       are deemed waived.").


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                      The   complaint    then    adds    further    detail       for   each

       Fabry-patient plaintiff.          Typical of such individual allegations

       is the claim that "[p]laintiff [Trina Wilkins's] clinical status

       has deteriorated as the Fabry disease has accelerated due to the

       defective Fabrazyme treatment as evidenced by the occurrence,

       progression, and exacerbation of [various] physical injuries . . .

       [including]      anaphylactic     infusion     reactions,     venous      collapse,

       vascular thrombosis" and so on.

                      The district court found these allegations insufficient

       to   show   that     "the   symptoms     experienced     were    the      result   of

       'defective' dosing" as opposed to the typical progression of Fabry

       disease without any treatment.            Wilkins, 2022 WL 4237528, at *20.

       As the foregoing allegations make clear, however, plaintiffs'

       complaint includes multiple specific allegations precisely to that

       effect.     And despite Genzyme's argument to the contrary, at the

       present stage of litigation we accept as true plaintiffs' "say-

       so" that they suffered the physical injuries in question.                          See

       Germanowski, 854 F.3d at 69.             Whether a defective drug treatment

       actually caused the decline in each plaintiff's health as alleged

       goes to the merits of the claim itself, not to standing to seek

       recovery for the harm.

                      In support of their "contamination" theory of harm --

       which    the    district    court   labeled      the   "Vesivirus      theory"     --

       twenty-one plaintiffs allege that they (or their spouses) suffered


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       physical    injuries     as   a   result    of    receiving       Fabrazyme       doses

       contaminated with Vesivirus and particulate matter.                      Plaintiffs'

       complaint alleges that Genzyme contaminated Fabrazyme, then sold

       contaminated    lots     to   plaintiffs,        which    caused    the     injuries.

       Plaintiffs    allege     that,    for    example,        "[t]he    Fabrazyme      lots

       [plaintiff     Trina      Wilkins]       was      injected        with     contained

       Vesivirus 2117 which injured her by inducing Vesivirus-induced

       vesiculating        chronic   non-anaphylactic           rashes    that     are    not

       treatable with steroids."          As another example, plaintiffs allege

       that "[i]n 2013 and 2015, [plaintiff Michael Masula] was . . .

       delivered     and    injected     with     defective      Fabrazyme        containing

       Vesivirus . . . which injured him by inducing [injuries similar to

       those alleged by Trina Wilkins]."                Thirteen other Fabry-patient

       plaintiffs and six spousal plaintiffs make similar specific claims

       of harm from the alleged contamination.              And contrary to Genzyme's

       arguments on appeal, these allegations assert a direct causal

       connection between the contaminated Fabrazyme and the injuries

       suffered by plaintiffs and are therefore sufficient to confer

       standing as to the relevant claims.

                    Plaintiffs finally allege a "financial" theory of harm:

       that they were injured by paying for ineffective and medically

       worthless doses of Fabrazyme.            Economic injury is sufficient to

       confer standing, so much so that, as one court noted, "where a

       plaintiff    alleges     financial      harm,    standing    'is    often     assumed


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       without discussion.'"      Cottrell v. Alcon Lab'ys, 874 F.3d 154, 163

       (3d Cir. 2017) (quoting Danvers Motor Co. v. Ford Motor Co., 432

       F.3d 286, 293 (3d Cir. 2005)).          Other courts considering similar

       claims of economic injury from payment for defective medication

       have found such allegations sufficient for standing purposes.                 See

       Harris v. Pfizer Inc., 586 F. Supp. 3d 231, 239 (S.D.N.Y. 2022);

       In re Zantac (Ranitidine) Prods. Liab. Litig., No. 21–10335, 2022

       WL 16729170, at *3 (11th Cir. Nov. 7, 2022).                We readily agree.

       While Genzyme argues that plaintiffs effectively got "what they

       paid for" because they knew they were purchasing a reduced dose

       that had not been clinically tested, such an argument goes to the

       merits of the claim, not to standing.

                   Taken as a whole, plaintiffs' newly pleaded, individual

       claims    closely   resemble      the   types    of    claims    routinely    and

       successfully asserted in classic product liability lawsuits.                 See,

       e.g., Garside v. Osco Drug, Inc., 976 F.2d 77, 78 (1st Cir. 1992).

       Genzyme      is     alleged       to     have         supplied     a     product

       (reduced/contaminated Fabrazyme doses without accurate warnings)

       that injured each plaintiff by, in some instances, accelerating

       the progression of their disease, causing them to experience a

       rash and other symptoms of contamination, triggering a harmful

       sensitization to a drug they needed to take, and making them pay

       for harmful medication.        These claims are at least plausible, and

       an assessment of standing provides no occasion to venture further


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       in   adjudicating         the    merits   of      the    claims.       As     we    said   in

       Hochendoner II, "[a]n individual's plausible allegations of a

       personal injury will generally suffice to plead an injury in fact,

       even if the claim is ultimately lacking on the merits."                            823 F.3d

       at 734.    All of which is to say that, for purposes of establishing

       Article III standing, plaintiffs' allegations pass muster.

                                                    B.

                       Standing, though, cannot by itself sustain a lawsuit if

       the court in which the suit resides otherwise lacks subject matter

       jurisdiction.        Genzyme argues that plaintiffs' complaint does not

       establish       federal     jurisdiction          because     there    is    no    complete

       diversity       of   citizenship,      nor     is   there      "CAFA-based         diversity

       jurisdiction."        But plaintiffs bring this case as a putative class

       action, with respect to some, if not all, claims.                            On its face,

       the action as pleaded fits the broad definition of a "class action"

       as defined in CAFA.3            See 28 U.S.C. § 1332(d)(1)(B).               It also meets

       CAFA's jurisdictional requirements as a putative class action in

       which     the    amount     in    controversy       is    over   $5 million         and    one

       plaintiff class member is a citizen of a different state than one

       defendant.            See        id.   §§ 1332(d)(2)(A),              (6);       see      also

       id. § 1332(d)(8) (noting that CAFA applies "to any class action



             3 This is not to say, however, that plaintiffs' action
       necessarily qualifies for certification under Rule 23 of the
       Federal Rules of Civil Procedure.


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       before or after the entry of a class certification order").                    And

       there is no suggestion that this action fits within any exception

       listed    at     28 U.S.C. § 1332(d)(4)       or   (5).     Accordingly,       the

       district court certainly had subject matter jurisdiction over the

       case at the time of filing.4

                      Still, Genzyme argues that the "CAFA claim" is doomed to

       fail, and that once it fails there will remain no basis upon which

       to assert subject matter jurisdiction.             But Genzyme puts the cart

       before the horse.        Suppose that A sues B (who is arguably a citizen

       of A's state) on two counts, one a federal claim and the other a

       state claim, and the federal claim is vulnerable to an affirmative

       defense    based    on   the   statute   of   limitations.      No      one   would

       reasonably say that the court lacks jurisdiction to decide the

       case.    At most, if the court exercised that jurisdiction to decide

       the statute-of-limitations defense, and subsequently dismissed the

       federal claim, then only at that point would the court be called

       upon to consider whether it should decide to continue exercising

       jurisdiction over the supplemental state claim.                 See 28 U.S.C.

       § 1367(c)(3).




            4  We thus need not decide whether the alternative ground on
       which the district court accepted jurisdiction was proper. See
       Wilkins, 2022 WL 4237528, at *20 n.18 (expressing doubts about
       whether the lawsuit could proceed as a class action but proceeding
       to analyze plaintiffs' remaining claims individually).


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                  Moreover, federal jurisdiction may persist under CAFA

       even if a traditional analysis under section 1367(a)(3) would

       otherwise militate against continuing to exercise jurisdiction at

       that point.     Many courts have held that federal CAFA jurisdiction

       survives denial of class certification, such that a federal court

       retains subject matter jurisdiction over the residual individual

       action even where jurisdiction is premised solely on CAFA.                See,

       e.g., Coba v. Ford Motor Co., 932 F.3d 114, 119 (3d Cir. 2019);

       Louisiana v. Am. Nat'l Prop. & Cas. Co., 746 F.3d 633, 639 (5th

       Cir. 2014).     But see Coll. of Dental Surgeons of P.R. v. Conn.

       Gen. Life Ins. Co., 585 F.3d 33, 42 (1st Cir. 2009) (expressing

       "no opinion" on the issue).        After all, CAFA was enacted in part

       because some state courts were seen as exercising too little rigor

       in certifying class actions under state practices.             See Amoche v.

       Guarantee Tr. Life Ins. Co., 556 F.3d 41, 49 (1st Cir. 2009) ("In

       CAFA, Congress expressly expanded federal jurisdiction largely for

       the   benefit   of   defendants    against   a   background      of   what   it

       considered to be abusive class action practices in state courts.").

       If a federal court decision finding that a class should not be

       certified meant that the case would be relegated to state court,

       where it might then be reconsidered for certification under state

       procedures, one of CAFA's key purposes would be frustrated.                  So,

       for present purposes, Genzyme's CAFA-based jurisdictional argument

       is, at the very least, premature.


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                                                IV.

                                                 A.

                    As an adjunct to its jurisdictional argument, Genzyme

       also presses on appeal its affirmative defense that the action is

       untimely.      The district court considered that defense and ruled

       against Genzyme, but Genzyme did not appeal (or, technically,

       cross-appeal).             Genzyme   suggests        that    it     need     not   have

       cross-appealed        the     district      court's       ruling     rejecting       its

       limitations defense because we can rely on any argument apparent

       in the record to affirm a judgment.                 See Mass. Mut. Life Ins. v.

       Ludwig, 426 U.S. 479, 481 (1976); Olsen v. Correiro, 189 F.3d 52,

       58   n.3    (1st    Cir.    1999).     As      to   the   four     plaintiffs      whose

       sensitization-based claims were dismissed for failure to state a

       claim, Genzyme is correct.           It is entitled to press its timeliness

       defense as an alternative basis for affirming the district court's

       judgment dismissing the claims of those four plaintiffs with

       prejudice.        Cf. Delgado-Caraballo v. Hosp. Pavía Hato Rey, Inc.,

       889 F.3d 30, 39 n.15 (1st Cir. 2018).

                    However, as to the remaining twenty-two plaintiffs whose

       claims     were    dismissed    without     prejudice       on    standing    grounds,

       accepting Genzyme's statute-of-limitations defense on the merits

       would transform the judgment against those plaintiffs from a

       dismissal without prejudice into a dismissal with prejudice.                        Such

       a change would leave them worse off.                As a result, because Genzyme


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       failed to cross-appeal, Genzyme is prohibited from now asserting

       on appeal its statute-of-limitations defense against the claims of

       those twenty-two plaintiffs.       See id.

                                             B.

                   Against this admittedly reticulated background, we now

       turn to the merits of Genzyme's argument that the dismissal with

       prejudice of four plaintiffs' claims             can be affirmed on the

       alternative grounds that the claims are untimely. Those plaintiffs

       are Trina Wilkins and Damon LaForce (both plaintiffs previously in

       the Adamo lawsuit) and Thomas Stanziano and Wendy Stanziano (both

       plaintiffs previously in the Hochendoner lawsuit).5

                   Plaintiffs argue that their claims in this lawsuit have

       survived the passage of time because:          (1) Some of them previously

       commenced a class action lawsuit arising out of Genzyme's alleged

       defalcations; (2) Indiana law granted them a three-year tolling

       period from the end of those timely lawsuits within which to

       reassert their claims; and, in any event, (3) the Tolling Agreement

       preserved their claims.       We consider each of these assertions in

       turn.

                                             1.

                   The parties do not dispute on appeal the district court's

       finding    that   the   limitations   period    on   all   claims     save   for


            5  Ms. Stanziano brings a derivative loss-of-consortium claim
       tracking her spouse's sensitization claims.


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       sensitization and fraud claims would have expired by no later than

       the end of 2011, in the absence of any tolling.6            See Wilkins, 2022

       WL 4237528, at *10–13.      Nor do the parties dispute on appeal the

       district court's finding that the limitations period on the fraud

       claims expired but for possible tolling by March of 2013,7 or that

       the limitations period on the sensitization claims expired but for

       possible tolling by the end of 2014.            Id. at *13.

                  The   Stanzianos      filed   suit    as    named    plaintiffs    in

       Hochendoner in March of 2011.        So there is no dispute that their

       claims were then timely asserted.            Wilkins and LaForce, however,

       did not sue until June of 2013.          Had they asserted sensitization

       claims at that time, those claims would have been timely. However,

       Wilkins and LaForce never made any sensitization allegations in

       Adamo.   So, for Wilkins and LaForce, all of their claims when first

       asserted were untimely, absent the benefit of some tolling effect.




            6  The district court grouped plaintiffs' claims into three
       categories based on the type of harm alleged for purposes of
       ascertaining   their   accrual   and    expiration   dates:   low
       dosing/contamination, sensitization, and fraud.    The parties on
       appeal do not dispute this aspect of the district court's method.
            7  Plaintiffs do argue that the statute of limitations has
       not run on their breach-of-fiduciary-duty claims on the grounds
       that plaintiffs' fiduciary relationship with Genzyme is ongoing.
       However, the claim would have accrued, just like the rest of their
       claims, when plaintiffs knew or could have reasonably discovered
       their injury. See City of E. Chi. v. E. Chi. Second Century, Inc.,
       908 N.E.2d 611, 618 (Ind. 2009).


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                       To obtain such a benefit, Wilkins and LaForce rely on

       the rule of American Pipe & Const. Co. v. Utah, which they claim

       applies because Hochendoner was a putative class action.                    See 414

       U.S. 538, 553 (1974); Crown, Cork & Seal Co. v. Parker, 462 U.S.

       345, 350 (1983) (holding that the timely filing of a purported

       class action suit tolls the statute of limitations for putative

       class members who seek to either intervene in the suit or file

       their own individual lawsuits after class action certification has

       been denied).          American Pipe, however, involved the saving of a

       federal cause of action by application of a federally recognized

       tolling rule.          See 414 U.S. at 541.         And plaintiffs concede --

       indeed argue -- that in this action involving claims arising purely

       under state law, we must look to Indiana law to determine whether

       the      claims     of    the   Adamo      plaintiffs      are    somehow      saved

       notwithstanding the passage of more than two years from their

       accrual.        See Casey v. Merck & Co., Inc., 653 F.3d 95, 100 (2d

       Cir. 2011) ("[A] federal court evaluating the timeliness of state

       law claims must look to the law of the relevant state to determine

       whether, and to what extent, the statute of limitations should be

       tolled     by    the   filing   of   a   putative   class    action    in   another

       jurisdiction."); see also In re Urethane Antitrust Litig., 663 F.

       Supp. 2d 1067, 1081–82 (D. Kan. 2009) (declining to apply American

       Pipe tolling when sitting in diversity because of the established




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       principle that "state law alone must govern the application of a

       tolling principle to a state's statute of limitations").

                   The district court proceeded accordingly, and found that

       Indiana courts would not apply American Pipe-style tolling to save

       a claim where neither the putative class action nor the subsequent

       individual claim was filed in an Indiana court.           See Wilkins, 2022

       WL 4237528, at *14 (collecting cases).             Plaintiffs' briefs on

       appeal offer no challenge to that conclusion.             Hence, plaintiffs

       lack any basis for claiming that the Hochendoner complaint tolled

       the running of the limitations period for members of the putative

       class who waited until after the limitations period expired to sue

       in Adamo.

                   To summarize, we conclude that neither American Pipe

       itself nor any analogue in Indiana law of American Pipe can play

       any role in rendering any of plaintiffs' claims timely.               And that

       means that the claims of Wilkins and LaForce were untimely when

       first filed in 2013. We turn next to the second part of plaintiffs'

       tolling troika: the Indiana Journey's Account Statute.

                                            2.

                   As we have found, all claims raised by the Stanzianos in

       the Hochendoner lawsuit were timely when originally filed.               Their

       prior lawsuit, however, was itself dismissed without prejudice in

       March 2015, as affirmed in May 2016.         Hochendoner II, 823 F.3d at

       737.     So to reassert their claims in this new lawsuit, filed well


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       after the two-year limitations period on their claims ran, the

       Stanzianos need to rely on one or more tolling doctrines that will

       bridge the gap between the passing of the limitations period and

       the filing of this new lawsuit in 2020.

                   Toward   that    end,    the   Stanzianos       invoke    an   Indiana

       savings statute that, they argue, extended for three years their

       ability     to   refile    any    otherwise      timely    Hochendoner      claims

       following this court's affirmance of their dismissal in 2016.                   See

       Hochendoner II,      823    F.3d     at    728     (dismissing       consolidated

       Hochendoner and Adamo actions). The statute in question, Indiana's

       "Journey's Account Statute," provides that a party may refile an

       action that was dismissed on any grounds apart from the party's

       own negligence no later than three years after its dismissal, even

       if the statute of limitations has run.                Ind. Code § 34–11–8–1.8




            8    The statute provides in relevant part:
                   (a) This section applies if a plaintiff commences an
                   action and:
                         (1)     the plaintiff fails in the action from any
                                 cause except negligence in the prosecution of
                                 the action; . . .
                   (b) If subsection (a) applies, a new action may be
                   brought not later than the later of:
                         (1) three (3) years after the date                       of   the
                         determination under subsection (a); or
                         (2) the last date an action could have been
                         commenced   under  the   statute of limitations
                         governing the original action;


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       Indeed, "when it applies, the [Journey's Account] Statute serves

       to resuscitate actions that have otherwise expired under a statute

       of limitations."      Al-Challah v. Barger Packaging, 820 N.E.2d 670,

       674 (Ind. Ct. App. 2005) (alteration in original) (quoting Cox v.

       Am. Aggregates Corp., 684 N.E.2d 193, 195 (Ind. 1997)).               However,

       "[t]he Journey's Account Statute is not an exception to the statute

       of limitations; it merely allows the continuation of a previous

       suit filed within the statute of limitations."                Vesolowski v.

       Repay, 520 N.E.2d 433, 435 (Ind. 1988).

                   The Stanzianos argue that their 2020 complaint falls

       squarely under the protection of the Journey's Account Statute

       because this court's 2016 affirmance of the dismissal of the

       consolidated Hochendoner/Adamo action was not due to their own

       negligence, and the 2020 complaint was but a "continuation" of

       that action that cured the standing deficiencies highlighted by

       the district court and this court.

                   This attempted reliance on the Journey's Account Statute

       fails.   The Stanzianos' lawsuit in this case is not a continuation

       of their prior Hochendoner lawsuit within the meaning of the

       Journey's   Account    Statute,    because   all    the   claims      that   the

       Stanzianos now assert pivot on highly material allegations of


                   and be considered a continuation of the original action
                   commenced by the plaintiff.
            Ind. Code § 34–11–8–1 (2005).


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       individual injuries and causation that they did not allege in

       Hochendoner.      "Generally,     for    an    action    to     be   considered    a

       continuation of the former [for purposes of the Indiana Journey's

       Account Statute], the parties, the facts, and the causes of action

       must be the same."        Land v. Int'l Bus. Machs. Corp., 108 F. Supp.

       3d 632, 637 (S.D. Ind. 2015); cf. Eads v. Cmty. Hosp., 932 N.E.2d

       1239, 1246 (Ind. 2010) (holding that where the "new complaint

       changed no parties, facts or elements, and altered only the

       procedural requirements to assert the claim," the second action

       was preserved under the Journey's Account Statute as a continuation

       of the first); Kindred Nursing Ctrs. v. Est. of McGoffney, 15

       N.E.3d 641, 646, 646 n.1 (Ind. Ct. App. 2014) (noting that the

       second   suit   was   a   continuation    of    the     first    because    it   was

       "essentially identical to the one previously filed" and "add[ed]

       no new allegations or parties").

                  The Stanzianos' new 2020 complaint alleges for the first

       time that the "'[l]ow dose' . . .             caused antibody sensitization

       to Fabrazyme making it impossible for [Mr. Stanziano] to resume

       full dose treatment with Fabrazyme without steroids as he had

       before the 'low dosing' began."          It also newly alleges that "[i]n

       2013 and 2015, [Mr. Stanziano] was . . . injected with defective

       Fabrazyme containing Vesivirus[,]" that Mr. Stanziano's "Fabry

       disease has accelerated due to the defective Fabrazyme treatment

       as evidenced by" an enumerated list of Mr. Stanziano's physical


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       injuries, and that Mr. Stanziano "was also damaged by paying over

       $200,000 for medically worthless Fabrazyme."                But for the addition

       of these new facts particular to Mr. Stanziano, the Stanzianos

       would have no standing to sue, much less successfully so.                         See

       Hochendoner II,     823      F.3d    at      732      (dismissing       plaintiffs'

       predecessor claims for lack of standing because "no specific

       information [was] provided regarding the harm, if any, that has

       befallen each individual plaintiff").               Accordingly, we agree with

       the   district   court    that   the    Indiana       tolling     statute   has    no

       application to the Stanzianos' claims.

                                               3.

                  We turn, finally, to the Tolling Agreement. The district

       court read the Tolling Agreement as both pausing the clock and as

       reviving otherwise expired claims.             Certainly the agreement paused

       any further running of the limitations clock.                 But we think it is

       equally clear that the agreement did not revive claims for which

       the limitations period had expired before the parties signed the

       Tolling Agreement.

                  The Tolling Agreement provided that "[a]ny applicable

       statutes of limitations pertaining to any matters asserted in the

       [Hochendoner and Adamo lawsuits] shall be tolled during the term

       of this Agreement."      (Emphasis added.)          Adding belt to suspenders,

       the   Tolling    Agreement    also     stated      that    "notwithstanding       the

       foregoing," Genzyme still has "the right to assert any [timeliness]


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       defense based upon passage of time prior to the [effective date of

       the agreement]."    In rejecting the clear meaning of this language,

       the district court cited language stating that "[t]he parties

       desire to provide for additional time to allow them to complete

       the process of finalizing documentation giving effect to that

       agreement in principle[,]" and that the agreement is in part "to

       facilitate orderly settlement and resolution of the Plaintiffs'

       claims."     Wilkins, 2022 WL 4237528, at *15.        The court suggested

       that such language would have had no meaning unless the Tolling

       Agreement revived stale claims.       Id. at *16.

                  We disagree.     The language cited by the district court

       simply explained why the parties decided to pause the running of

       the clock.    Nothing in that language suggests that it was somehow

       intended to supersede the express statement preserving Genzyme's

       right to press its defense based on the passage of time prior to

       the effective date of the Tolling Agreement.          Consequently, as to

       Wilkins, LaForce, and the Stanzianos, because the time within which

       they needed to file suit expired long before the Tolling Agreement

       was signed, none of their claims in this case survive Genzyme's

       statute-of-limitations defense.

                                           V.

                  We take stock of where we are.         First, we have subject

       matter jurisdiction over this action under 28 U.S.C. §§ 1332(d)

       and 1367, at least with respect to plaintiffs' individual claims.


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       Second, all plaintiffs have Article III standing to pursue their

       claims.           Third,      we    have        only        considered      Genzyme's

       statutes-of-limitations defense as an alternative basis to affirm

       the judgment as to the four plaintiffs whose claims were dismissed

       with prejudice.      Fourth, as to those plaintiffs, the limitations

       periods on all their claims expired well before this lawsuit was

       filed.     More specifically, their claims are time-barred because

       they were either untimely when first filed or rely on material new

       facts rendering the Journey's Account Statute inapplicable, and

       because the Tolling Agreement did not revive any otherwise expired

       claims.

                   We    have      not    addressed      the       merits    of    Genzyme's

       Rule 12(b)(6) challenge to the complaint.                    Nor have we directly

       addressed Genzyme's limitations defense to the claims of the

       remaining twenty-two plaintiffs.              With the guidance provided by

       this opinion, we leave it to the district court to decide in the

       first instance which of these issues to address first and how to

       do so.

                                               VI.

                   For    the     foregoing    reasons,       we    affirm   the   district

       court's dismissal of all claims by plaintiffs Wilkins, LaForce,

       and the Stanzianos.        But we otherwise reverse the district court's

       judgment dismissing the claims of the other plaintiffs for lack of

       standing, leave it to the district court in the first instance to


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       consider the merits of those claims or their defenses, and remand

       the case for further proceedings consistent with this opinion.              No

       costs are awarded.




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